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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW MEXICO


JOHN PAUL JONES,

       Plaintiff,


vs.                                                No. 15 CV 594 JAP/LF


SYLVIA MATTHEWS BURWELL
Secretary, Department of Health and
Human Services,

       Defendant.


                        MEMORANDUM OPINION AND ORDER

       On August 4, 2016, Plaintiff John Paul Jones (Plaintiff) and Defendant Secretary of the

Department of Health and Human Services (HHS) filed cross-motions for summary judgment on

Plaintiff’s claims of age discrimination in violation of the Age Discrimination in Employment

Act, 29 U.S.C. § 621 et seq. (ADEA). See DEFENDANT’S MOTION FOR SUMMARY

JUDGMENT AND SUPPORTING MEMORANDUM (Doc. No. 52) (HHS Motion);

PETITIONER’S MOTION FOR SUMMARY JUDGMENT (Doc. No. 53) (Plaintiff’s Motion).

Plaintiff filed a response on August 19, 2016. See PLAINTIFF’S REPLY TO DEFENDANT’S

MOTION FOR SUMMARY JUDGMENT (Doc. No. 57) (Plaintiff’s Response). HHS filed its

response on August 22, 2016. See RESPONSE TO PLAINTIFF’S MOTION FOR SUMMARY

JUDGMENT (Doc. No. 58) (HHS Response). Plaintiff replied on August 23, 2016. See

PLAINTIFF’S REPLY TO DEFENDANT’S RESPONSE, DATED AUGUST 22, 2016, TO

PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT (Doc. No. 59) (Plaintiff’s Reply).

HHS replied on September 6, 2016. See REPLY TO PLAINTIFF’S RESPONSE TO MOTION

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FOR SUMMARY JUDGMENT (Doc. No. 63) (HHS Reply).1 Because Plaintiff has failed to

present a prima facie case of age discrimination and has not proven that the legitimate reasons

HHS provided for its actions were pretextual, the Court will deny Plaintiff’s Motion and will

grant summary judgment in favor of HHS.

         I.       BACKGROUND2

         In 2009, HHS advertised vacancies for seven positions with the Centers for Disease

Control and Prevention (CDC). HHS Mot. Statement of Undisputed Material Facts (UMF) ¶ 1;

CIVIL RIGHTS COMPLAINT3 (Doc. No. 1) (Complaint) at 27. All seven of these positions

were based in the United States. HHS Mot. Ex. A Jones Depo. 96:9–13. Three vacancies were

for Public Health Advisors and four were for Health Communications Specialists. HHS Mot. Ex.

B-1, Ex. C-1, Ex. D-1, Ex. E-1, Ex. E-2, Ex. F-1, Ex. G-1. The advertised positions were at the

GS-12 or GS-13 level, and the required qualifications for each included one year of specialized

work experience demonstrating skills directly relevant to the advertised duties and

responsibilities equivalent to the preceding GS-11 or GS-12 level. HHS Mot. Ex. B-1, Ex. C-1,

Ex. D-1, Ex. E-1, Ex. E-2, Ex. F-1, Ex. G-1.



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            On September 7, 2016, Plaintiff filed a MOTION TO EXCLUDE DEFENDANT’S REPLY TO
PLAINTIFF’S RESPONSE TO MOTION FOR SUMMARY JUDGMENT FROM THE RECORD AS
UNTIMELY FILED AND REQUEST FOR CONFERENCE (Doc. No. 65) (Plaintiff’s Motion to Exclude), to
which HHS responded on September 16, 2016, see RESPONSE TO PLAINTIFF’S MOTION TO EXCLUDE
DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE TO MOTION FOR SUMMARY JUDGMENT (Doc. No.
67). Plaintiff’s calculation that the HHS Reply was untimely did not account for the extension of the filing deadline
to the next business day under Fed. R. Civ. P. 6(a)(1)(C) when the filing period ends on a weekend or holiday, nor
for the three extra days allowed under Fed. R. Civ. P. 6(d). The Court will deny Plaintiff’s Motion to Exclude
because the HHS Reply was timely filed.
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            The facts listed are undisputed unless otherwise noted.
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            The Complaint consists of a form civil rights complaint filed with attached documents consisting of 1) the
EEOC letter acknowledging receipt of Plaintiff’s appeal; 2) Plaintiff’s Statement in support of his appeal filed with
the EEOC; 3) the EEOC’s dismissal of his appeal as untimely; 4) Plaintiff’s motion to reconsider; 5) the EEOC’s
grant of that motion and decision on the merits upon reconsideration; and 6) a letter reciting that Plaintiff was
deemed qualified for a position advertised in 2005. A CD transcript of a 2013 Merit System Protection Board
hearing was also included with the filing. No exhibits were attached to Plaintiff’s Motion for Summary Judgment;
he instead referred back to those included with his Complaint.

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       The three advertised Public Health Advisor positions variously required specialized

experience “performing as a Project Officer providing technical and programmatic advice in the

planning, development, implementation, and evaluation of state, local, territorial and

international public health programs,” HHS Mot. Ex. B-1; “providing technical advice and

assistance in the implementation and evaluation of a state, local or federal public health program

related to STD/HIV programs or other related infectious diseases,” HHS Mot. Ex. E-1; or

“providing consultative and technical assistance in the development of procedures, methods and

strategies for public health programs,” HHS Mot. Ex. G-1. The Health Communications

Specialists were required to have specialized experience in “developing, implementing, and

evaluating health communication and marketing programs and strategies to inform the public and

other audiences of public health programs,” HHS Mot. Ex. D-1; “utilizing communication

science and marketing techniques in planning, implementing, managing and evaluating public

health communication and marketing programs and strategies,” HHS Mot. Ex. E-2, Ex. F-1; or

“experience in the planning, implementing, managing, and evaluation of health communications

and the marketing of public health programs,” HHS Mot. Ex. C-1.

       Plaintiff, who was sixty-four years old at the time, submitted an online application for

each of these seven positions that included essentially the same resume. HHS Mot. Ex. A Jones

Depo. 99:1–100:24; Compl. at 27. HR Specialists reviewed his application for each of the seven

positions, and each independently concluded that Plaintiff was not a qualified applicant because

he lacked the required one year of specialized experience. HHS Mot. Ex. B Andre Decl. ¶ 8; Ex.

C Martin Decl. ¶¶ 8–9; Ex. D Poe Decl. ¶¶ 8–9; Ex. E Ford Decl. ¶¶ 8–10, 18–19; Ex. F Wright

Decl. ¶¶ 10–11; Ex. G Williams Decl. ¶¶ 9–10. Applications for one vacancy received a second




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quality review to ensure that no qualified applicant was overlooked, which confirmed the initial

decision that Plaintiff was not qualified. HHS Mot. Ex. C Martin Decl. ¶ 16.

       Plaintiff has extensive experience in healthcare-related positions, including service in the

United States Army as a medical corpsman, seven years as an administrator and vice-president of

operations at Nursecare International, and over twenty years’ employment as a Senior

Management Consultant and a Senior Advisor at King Faisal Specialist Hospital Research Center

in Saudi Arabia. HHS Mot. Ex. B Andre Decl. ¶ 8; Compl. at 25, 27. But despite Plaintiff’s

experience in the healthcare field, each HR Specialist interpreted Plaintiff’s description of his

previous duties as largely administrative and not including the specialized experience

specifically relating to the duties of the advertised positions. HHS Mot. Ex. B Andre Decl. ¶ 8;

Ex. C Martin Decl. ¶¶ 8–9; Ex. D Poe Decl. ¶¶ 8–9; Ex. E Ford Decl. ¶¶ 8–10, 18–19; Ex. F

Wright Decl. ¶¶ 10–11; Ex. G Williams Decl. ¶¶ 9–10; Compl. at 28, 30–31. Plaintiff’s name

was not forwarded to the selecting official for further consideration for any of the seven

positions. HHS Mot. Ex. A Jones Depo. 44:6–19.

       Plaintiff filed a formal complaint of employment discrimination with HHS alleging that

his nonreferral was due to age discrimination. HHS Mot. Ex. A Jones Depo. 6:12–17, 44:1–23.

After an investigation and a hearing before an Administrative Law Judge, HHS issued its final

decision finding no discrimination. UMF ¶¶52–56; HHS Mot. Ex. A Jones Depo. 27:7–24,

44:17–23, 47:2–20, 48:12–16; Compl. at 27–28, 32. Plaintiff appealed the final decision to the

EEOC, which affirmed HHS. UMF ¶¶57–60; Compl. at 32. Plaintiff then filed this lawsuit.

Compl. at 1. It is undisputed that Plaintiff has exhausted his administrative remedies and his

claim is properly before the Court. See Shikles v. Sprint/United Mgmt. Co., 426 F.3d 1304, 1317




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(10th Cir. 2005) (the ADEA requires a claimant to exhaust administrative remedies before filing

suit).

         II.    DISCUSSION

         Summary judgment may be granted if “the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Plaintiff’s “pro se . . . pleadings are to be construed liberally and held to a less stringent

standard than formal pleadings drafted by lawyers.” Garrett v. Selby Connor Maddux & Janer,

425 F.3d 836, 840 (10th Cir. 2005). But it is not the function of the court to serve as a pro se

litigant’s attorney in constructing arguments and searching the record. Id.

         When both parties move for summary judgment, the court must analyze each motion

individually and on its own merits. See Buell Cabinet Co. v. Sudduth, 608 F.2d 431, 433 (10th

Cir. 1979) (explaining that “[c]ross-motions for summary judgment are to be treated separately;

the denial of one does not require the grant of another.”). Cross-motions for summary judgment

entitle the Court “to assume that no evidence needs to be considered other than that filed by the

parties, but summary judgment is nevertheless inappropriate if disputes remain as to material

facts.” Atlantic Richfield Co. v. Farm Credit Bank of Wichita, 226 F.3d 1138, 1148 (10th Cir.

2000). “Where the facts are not in dispute . . . , summary disposition is appropriate.” Christian

Heritage Acad. v. Okla. Secondary Sch. Activities Ass’n, 483 F.3d 1025, 1030 (10th Cir. 2007).

         A.     Prima Facie Case of Age Discrimination

         Under the ADEA, it is “unlawful for an employer . . . to fail or refuse to hire or to

discharge any individual or otherwise discriminate against any individual with respect to his

compensation, terms, conditions, or privileges of employment, because of such individual’s age.”

29 U.S.C. § 623(a). For Plaintiff to survive summary judgment on his discrimination claim, he



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must come forth with either direct evidence of HHS’ discriminatory intent or circumstantial

evidence of intentional discrimination. See Jones v. Okla. City Pub. Sch., 617 F.3d 1273, 1278

(10th Cir. 2010). Plaintiff contends that the testimony of HHS Deputy Chief Carla Boudreau

provides direct evidence that HHS has a policy of age discrimination. Plaintiff’s Mot. at 1–2. Ms.

Boudreau testified in 2013 before the Merit Systems Protection Board regarding Plaintiff’s

allegations that his veteran’s preference rights had been violated in the application process for

two positions not at issue in this case. RESPONSE TO MOTION CHARGING EGREGIOUS

RULE 30 VIOLATIONS (Doc. No. 55), Ex. 3 Boudreau Decl. ¶ 2. Plaintiff had applied for two

overseas CDC positions that were also part of the World Health Organization (WHO). Id. ¶ 5.

Ms. Boudreau testified that applicants for WHO positions within the CDC are required to meet

both CDC and WHO eligibility guidelines and are subject to all WHO policies, including a

mandatory retirement age of 62. Id. Since the WHO guidelines do not apply to CDC positions in

the United States, id. ¶ 6, Ms. Boudreau’s testimony is not direct evidence of HHS’s

discrimination in this case. Therefore, the Court will analyze Plaintiff’s claims using the

McDonnell Douglas burden-shifting analysis. See McDonnell Douglas Corp. v. Green, 411 U.S.

792, 802–05 (1973); Jones, 617 F.3d at 1278.

        Under this framework, the plaintiff must first present evidence of a prima facie case of

discrimination. McDonnell Douglas, 411 U.S. at 802. A prima facie case of discriminatory

failure to hire requires a plaintiff to demonstrate that: (1) the plaintiff belongs to a protected

class; (2) the plaintiff applied for and was qualified for a job for which the employer was seeking

applicants; (3) despite being qualified, the plaintiff was rejected; and (4) after the plaintiff’s

rejection, the position remained open and the employer continued to seek applicants from

persons of plaintiff’s qualifications. Garrison v. Gambro, Inc., 428 F.3d 933, 937 (10th Cir.



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2005). Only after the plaintiff has established a prima facie case does the burden shift to the

employer to articulate a legitimate, nondiscriminatory reason for its action. McDonnell Douglas,

411 U.S. at 802. If the defendant carries that burden, the plaintiff must then prove by a

preponderance of the evidence that the nondiscriminatory reasons offered by the defendant were

pretextual. Id. at 804.

        There is no dispute that Plaintiff was a member of a protected class under the ADEA, but

HHS maintains that Plaintiff was not qualified for any of the positions to which he applied

because he did not possess the required one year of specialized experience. HHS Mot. at 12.

Additionally, HHS asserts that it decided not to fill one of the vacancies, so Plaintiff cannot

prove the fourth element of his prima facie case regarding that position. HHS Mot. at 16. In

support of its arguments, HHS presented job descriptions for each vacancy at issue and

declarations from each HR specialist as to why Plaintiff was not considered to be a qualified

applicant. See HHS Mot. Ex. B, Ex. C, Ex. D, Ex. E, Ex. F, Ex. G. Each HR Specialist

additionally stated that Plaintiff’s age was not a consideration in their decision. See HHS Mot.

Ex. B Andre Decl. ¶ 9; Ex. C Martin Decl. ¶ 10; Ex. D Poe Decl. ¶ 10; Ex. E Ford Decl. ¶¶ 11,

19; Ex. F Wright Decl. ¶ 13; Ex. G Williams Decl. ¶ 11. Based on this evidence, HHS argues

that Plaintiff has failed to show that he was qualified for the positions to which he applied and

has therefore failed to establish a prima facie case of age discrimination.

        Plaintiff does not respond to these arguments beyond asserting that “at least one, and

almost certainly more than one” of the HR Specialists are not credible. Plaintiff’s Resp. at 4. He

implies that the determinations that he was not qualified were incorrect, but fails to present any




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evidence that he had the requisite one year of specialized experience. Plaintiff’s Motion4 relied

solely on 1) the testimony of Ms. Boudreau regarding overseas CDC positions that were subject

to different eligibility requirements than the positions at issue in this case; 2) a letter referring to

another unrelated position advertised in 2005 for which he had been deemed qualified; and 3) his

assertions that the HR Specialists lacked credibility. Plaintiff’s Mot. at 1–3. The Court therefore

finds that the evidence presented by HHS is unchallenged. Plaintiff has not met his burden to

show that he was qualified for the positions, so has failed to present a prima facie case as

required to survive summary judgment.

        B.       Legitimate Reasons for Failure to Hire and Pretext

        Even if Plaintiff had presented a prima facie case of discriminatory failure to hire, HHS

has met its burden to show nondiscriminatory reasons that Plaintiff was not hired. The evidence

shows that HR Specialists concluded that Plaintiff had not met the requirement for one year of

specialized work experience relevant to each position for which he applied. HHS Mot. Ex. B

Andre Decl. ¶ 8; Ex. C Martin Decl. ¶¶ 8–9; Ex. D Poe Decl. ¶¶ 8–9; Ex. E Ford Decl. ¶¶ 8–10,

18–19; Ex. F Wright Decl. ¶¶ 10–11; Ex. G Williams Decl. ¶¶ 9–10; Compl. at 28, 30–31. Even

if the Court were to assume that these conclusions were incorrect and that Plaintiff was in fact a

qualified individual, the “relevant inquiry is not whether [the employer’s] proffered reasons were

wise, fair or correct, but whether [the employer] honestly believed those reasons and acted in

good faith upon those beliefs.” Stover v. Martinez, 382 F.3d 1064, 1076 (10th Cir. 2004). Since

HHS has shown that it had legitimate reasons for not hiring Plaintiff, it is Plaintiff’s burden to

come forward with evidence showing that the HR Specialists’ incorrect conclusions were a



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          Plaintiff asserted in his Reply that his Motion should be deemed unopposed because the HHS Response
was untimely, but he did not account for the three days added to the filing period under Fed. R. Civ. P. 6(d). The
Court finds that the HHS Response was timely filed.

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pretext for discrimination based on Plaintiff’s age rather than an honest but erroneous assessment

of his qualifications.

        Plaintiff may prove pretext by presenting evidence of “such weaknesses, implausibilities,

inconsistencies, incoherencies, or contradictions in the employer’s proffered legitimate reasons

for its action that a reasonable factfinder could rationally find them unworthy of credence and

hence infer that the employer did not act for the asserted non-discriminatory reasons.” Argo v.

Blue Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1203 (10th Cir. 2006) (internal quotation

marks omitted). But Plaintiff has presented no evidence that the HR Specialists’ disqualification

of Plaintiff was based on anything other than their interpretation of his credentials. “Mere

conjecture that the employer’s explanation is pretext is insufficient to defeat summary

judgment.” Etsitty v. Utah Transit Auth., 502 F.3d 1215, 1225 (10th Cir. 2007) (internal

quotation marks omitted). Plaintiff has therefore failed to meet his burden to show that HHS’s

reasons for not hiring him were a pretext for age discrimination.

        IT IS ORDERED that:

        1) Plaintiff’s MOTION TO EXCLUDE DEFENDANT’S REPLY TO PLAINTIFF’S

RESPONSE TO MOTION FOR SUMMARY JUDGMENT FROM THE RECORD AS

UNTIMELY FILED AND REQUEST FOR CONFERENCE (Doc. No. 65) is denied,

        2) PETITIONER’S MOTION FOR SUMMARY JUDGMENT (Doc. No. 53) is denied,

and

        3) DEFENDANT’S MOTION FOR SUMMARY JUDGMENT AND SUPPORTING

MEMORANDUM (Doc. No. 52) is granted.




                                      SENIOR UNITED STATES DISTRICT JUDGE

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